                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )       No. 3:15-00088
                                             )       CHIEF JUDGE CRENSHAW
[1] REGINALD JOHNSON, III                    )
[2] AWEIS HAJI-MOHAMED                       )
[3] MARQUIS BRANDON                          )
[5] CHARLES BRADEN                           )
[6] SANTEZ BRADFORD                          )

                                AMENDED MEMORANDUM

       Pending before the Court are Motions to Sever filed by Defendants Marquis Brandon (Doc.

168), Reginald Johnson, III, (Doc. No. 169), Santez Bradford (Doc. No. 172), Aweis Haji-Mohamed

(Doc. No. 210), and an Amended Motion to Sever filed by Defendant Charles Braden (Doc. No.

159). The Government has responded in opposition to all of the Motions (Doc. Nos. 191, 278). For

the reasons that follow, the Court will sever the counts in which Johnson and Bradford are named

as the sole Defendants in the Second Superseding Indictment and try those counts separately.

                                    I. Factual Background

       On June 27, 2016, a federal grand jury returned the Second Superseding Indictment

containing thirty-one counts naming six defendants. Thereafter, Defendant Keno Lane, who was

named as the sole defendant in Counts Twenty-Eight through Thirty-One, pled guilty leaving

twenty-seven Counts against five Defendants. Each of those Defendants has filed a Motion to Sever

counts and/or defendants.

       The remaining charges involve Hobbs Act robberies, possession of firearms by unlawful

drug users and/or convicted felons, possession of ammunition by a convicted felon in possession of


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controlled substances, the transfer of a firearm, and the possession of a stolen firearm. A central

component of the Indictment is the use and possession by Defendants of seven firearms: (1) a Ruger

P94, .40 caliber pistol; (2) a Beretta, Model 90Two, 9mm caliber pistol, (3) a SCCY, 9mm caliber

pistol; (4) a Springfield XD, .40 caliber pistol; (5) a Glock, Model 23, .40 caliber pistol; (6) a

Masterpiece Arms, Model MPA930, 9mm caliber MAC-11 style pistol; and (7) a Starfire, Model

30MI, 9mm caliber pistol. The first six of these firearms were allegedly exchanged between several

of the Defendants.

       Turning to the specifics and what the Government claims it intends to prove, Counts One

through Seven apparently all involved the use of the Ruger and/or Beretta in January 2015 and for

six of the seven counts, specifically on January 10, 2015. Count One charges Braden, being an

unlawful user of a controlled substance, with possessing that handgun in January 2015. He, along

with Haji-Mohamed are charged in the next four counts for crimes committed on January 10, 2015:

Count Two alleges that they conspired to rob and extort “CS,” a person they believed to be a drug

dealer; Count Three alleges they knowingly used, carried, brandished and discharged a firearm

during the robbery of “CS”; Count Four alleges they conspired to rob and extort Isaiah Starks,

another person they believed to be a drug dealer; and Count Five alleges that they carried,

brandished and discharged a firearm in relation to the Starks’ robbery on January 10, 2015.

       Braden is charged in Count Six, with the allegedly transferring the Ruger pistol, also on

January 10, 2015, knowing it would be used in the Starks’ robbery. Count Seven charges

Haji-Mohamed with possession of the Ruger by a convicted felon on January 10, 2015, as well as

possessing the Beretta pistol, which the Government suggests the proof will show was also involved

in Counts Two and Three.


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       Counts Eight through Twelve are leveled against Haji-Mohamed and Brandon for crimes

alleged to have occurred, at least in part, on January 22, 2015. Count Eight alleges they conspired

and threatened physical violence in furtherance of a plan to rob a Cricket Wireless store; Count Nine

alleges they used, carried, and brandished firearms during the conspiracy to rob that store; Count

Ten alleges that both, having previously been convicted of felony offenses, possessed the SCCY

pistol; Count Eleven alleges that they stole the Springfield XD pistol from an employee at the

Cricket store; and Count Twelve alleges those Defendants possessed, stored, and disposed of the

stolen Springfield pistol between January 22, 2015 through September 11, 2015.

       Count Thirteen is another felon in possession charge. It charges Johnson, Haji-Mohamed,

and Brandon with possessing the Springfield XD pistol and using it on February 9, 2015 to shoot

and kill Starks and using it again toward the end of the month to regain possession of the Glock,

which Johnson had previously sold to another person.

       The next two Counts involve the Masterpiece Arms pistol and are against Bradford and

Brandon. Count Fourteen charges that they stole the firearm from a fellow member of Five Deuce

Hoover Crips, while Count Fifteen alleges they possessed and stored that firearm. Both counts are

alleged to have occurred at some point between January 22 and January 31, 2015.

       The Masterpiece Arms and two other pistols are involved in Counts Sixteen and Seventeen.

In Count Sixteen, Bradford, a convicted felon, is alleged to have possessed the Beretta, Springfield

XD and Masterpiece Arms pistols between January 3 and January 31, 2015, while Count Seventeen

charges Brandon, who is also a convicted felon, with possessing the Beretta and Masterpiece Arms

pistols during the same time period.

       The next two counts involve crimes that occurred between February 15 and 18, 2015, that


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name Bradford, and involved the Glock. Bradford allegedly possessed and used that gun to

intimidate and threaten “JH” (Count Eighteen), while knowing that it had been stolen (Count

Nineteen).

       Counts Twenty through Twenty-Two are also directed solely at Bradford and involve crimes

committed on February 19, 2015. On that date, he is alleged to have unlawfully possessed the

SCCY pistol (Count Twenty), to have possessed with intent to distribute cocaine (Count Twenty-

One), and to have possessed a firearm while distributing the cocaine (Count Twenty-Two).

       Counts Twenty-Four and Twenty-Five are also gun and drug trafficking charges. Count

Twenty-Four charges Johnson with knowingly possessing with intent to distribute a Schedule I

controlled substance analogue within 1,000 feet of a public housing complex on May 14, 2015,

while the next count charges him with possessing the Glock in relation to that drug trafficking crime.

       Finally, Counts Twenty-Three and Twenty-Six are felon-in-possession charges against

Johnson. In Count Twenty-Three he is alleged to have possessed DRT (Dynamic Research

Technologies).45 caliber ammunition on March 20, 2015, while in Count Twenty-Six he is alleged

to have possessed the Glock between that date and May 143, 2015.

                                       II. Parties’ Positions

       Defendants’ positions regarding severance cover the waterfront:

       Braden “requests severance of Counts 1-7 of the Second Superseding Indictment”
       and asks for “a separate trial from all other defendants[.]” (Doc. No. 159 at 1).

       Brandon argues that “the charges credited to [him], Haji-Mohamed and Bradford in
       Counts 8 through 17 are unrelated to the offenses levied against the other defendants
       in the indictment,” and therefore those counts should be severed. (Doc. No. 168 at
       3).

       Johnson requests “an Order severing: (1) Count Twenty-Three (possession of
       ammunition); (2) Count Twenty-Four (Possession with intent in school/public

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       housing zone); (3) Count Twenty-Five (Possession of Firearm in furtherance of drug
       trafficking); and Count Twenty-Six, (Possession of a Firearm) from the other counts
       of the indictment so that counts 23, 24, 25 and 26 against Reginald Johnson may be
       tried together apart from the remaining indictment and defendants.” (Doc. No. 169
       at 1).

       Bradford asks the Court to sever “Counts 14-16 and 18-22 from all remaining counts
       and Defendants in the second superceding [sic] indictment and requests a separate
       trial on these counts from the other Defendants.” (Doc. No. 172 at 1).

       Haji-Mohamed requests that Count Fourteen through Twenty Six be severed because
       “[t]here is no a single conspiracy linking counts 14-26 with Mr. Mohamed nor did
       he participate in the acts charged in those counts.” (Doc. No. 210 at 2).

The Government, being the author of the charging instrument, insists that the joinder of the

Defendants and Counts was proper. It argues that no severance is warranted because “the charges

in the Indictment are comingled for the most apart” and there is “no reason to believe that reasonable

jurors will not be capable of compartmentalizing the evidence as it relates to any defendant.” (Doc.

No. 191 at 10).

                                        III. Legal Analysis

       Rule 8(a) of the Federal Rules of Criminal Procedure governs whether multiple offenses may

be joined in a single indictment by providing:

       The indictment or information may charge a defendant in separate counts with 2 or
       more offenses if the offenses charged—whether felonies or misdemeanors or
       both—are of the same or similar character, or are based on the same act or
       transaction, or are connected with or constitute parts of a common scheme or plan.

Fed. R. Crim. P. 8(a). “[T]he spirit of Rule 8(a) . . . is to ‘promote the goals of trial convenience

and judicial efficiency,’” United States v. Tran, 433 F.3d 472, 478 (6th Cir. 2006) (citation omitted),

and the Sixth Circuit “construes Rule 8(a) in favor of joinder and evaluates whether joinder was

appropriate based upon the four corners of the indictment.” United States v. James, 496 Fed. App’x

541, 546 (6th Cir. 2012).

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       Rule 8(b), in turn, governs the joinder of defendants:

       The indictment or information may charge 2 or more defendants if they are alleged
       to have participated in the same act or transaction, or in the same series of acts or
       transactions, constituting an offense or offenses. The defendants may be charged in
       one or more counts together or separately. All defendants need not be charged in
       each count.

Fed. R. Crim. P. 8(b). Much like Rule 8(a), the “general rule” is that persons jointly indicted should

be tried together because ‘there is almost always common evidence against the joined defendants

that allows for the economy of a single trial.’” United States v. Lopez, 309 F.3d 966, 971 (6th Cir.

2002) (quoting United States v. Phibbs, 999 F.2d 1053, 1067 (6th Cir.1993)). Also, and as with

Rule 8(a), the Court looks “to the allegations in the indictment to determine whether joinder was

proper.” United States v. Lewis, 363 F. App’x 382, 390 (6th Cir. 2010) (citing Schaffer v. United

States, 362 U.S. 511, 513-14 (1960)).

       “If the requirements of Rule 8 are not met, ‘the district court has no discretion on the

question of severance.’” United States v. Cody, 498 F.3d 582, 586 (6th Cir. 2007) (citation omitted).

“‘Severance in such a case is mandatory.’” Lewis, 363 F. App’x at 391 (quoting United States v.

Hatcher, 680 F.2d 438, 441 (6th Cir.1982)).

       Misjoinder is a question of law, whether it be in relation to offenses under Rule 8(a), United

States v. Deitz, 577 F.3d 672, 691 (6th Cir. 2009), or defendants under Rule 8(b), United States v.

Frost, 125 F.3d 346, 389 (6th Cir. 1997). The Court finds no misjoinder in the Second Superseding

Indictment when considered as a whole, particularly because both Rule 8(a) and (b) are to be broadly

construed in favor of initial joinder. See United States v. Thompson, 2017 WL 2130106, at *7 (6th

Cir. May 16, 2017) (citation omitted) (“We have found that Rule 8(a) is meant to be construed

broadly to ‘promote the goals of trial convenience and judicial efficiency.’); United States v.


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Moreno, 933 F.2d 362, 370 (6th Cir. 1991) (citation omitted) (stating that “Rule 8(b) ‘can and

should be broadly construed in favor of initial joinder,’ because of the protection Rule 14 affords

against unnecessarily prejudicial joinder.”).

       From the facts alleged on the face of the Second Superseding Indictment, there are

connections between Defendants and the crimes, so as to satisfy Rule 8. Braden is linked to Haji-

Mohamed (Counts 2-5) who, in turn, is linked to Braden (Count 5), Brandon (Count Eight through

Thirteen), and Johnson (Count Thirteen). Brandon is linked not only to Haji-Mohamed in several

counts, but also to Johnson (Count Thirteen) and Bradford (Counts Fourteen and Fifteen).

       The way the guns allegedly traveled between the Defendants also suggests a connection. The

Ruger was allegedly used or possessed by Braden (Counts One and Six) and Haji Mohamed (Count

Seven). The Beretta was allegedly used or possessed by Haji-Mohamed (Count Seven), Bradford

(Count Sixteen), and Brandon (Count Seventeen). The SCCY was allegedly used or possessed by

Haji-Mohamed and Brandon (Count Ten), and by Bradford (Count Twenty). The Springfield was

allegedly possessed by Haji-Mohamed and Brandon (Count Eleven), allegedly stolen by those

Defendants (Count Twelve), allegedly possessed by those Defendants along with Johnson (Count

Thirteen), and allegedly possessed by Bradford (Count Sixteen). The Glock was “regained” by

Johnson and Brandon (Count Thirteen) and allegedly possessed by Bradford (Counts Eighteen and

Nineteen) and Johnson (Counts Twenty-Five and Twenty-Six). Finally, the Masterpiece Arms was

allegedly stolen by Bradford and Brandon (Count Fourteen), and allegedly possessed by those

Defendants (Counts Fifteen through Seventeen).

       As for the nature of the offenses, there is nothing untoward in joining robbery and gun

charges, or drug and gun charges. The Indictment charges Hobbs Act robberies in violation of 18


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U.S.C. § 1951, which “clearly has as an element the use, attempted use, or threatened use of physical

force against the person or property of another as necessary to constitute a crime of violence,”

United States v. Gooch, 850 F.3d 285, 291-92 (6th Cir. 2017), and it requires only common sense

and no citation of authority for the proposition that such threats are often accomplished via the

business end of a firearm. Further, and unfortunately, guns are too often part of “‘the tools of the

trade’ in drug transactions.” United States v. Hardin, 248 F.3d 489, 499 (6th Cir. 2001) (citation

omitted).

       The connection between the robbery counts and drug dealing is more tenuous, but Rule 8(a)

allows the joinder of offenses that are connected with or constitute part of a common scheme or plan,

and presumably the Government will be able to show a connection between the guns used in other

crimes and the drug trafficking crime. Besides, “the absence of evidence at trial linking two sets of

charges results in misjoinder only if the indictment was drawn up in bad faith— i.e. where the

government knew it could not prove a link between the charges at trial.” Deitz, 577 F.3d at 691.

There is no such allegation or evidence of bad faith at this juncture.

       The conclusion that joinder of offenses and defendants was proper, however, does not end

the matter. Even if the joinder of offenses and defendants accord with Rule 8, a severance may still

be ordered under Rule 14, which provides:

       If the joinder of offenses or defendants in an indictment, an information, or a
       consolidation for trial appears to prejudice a defendant or the government, the court
       may order separate trials of counts, sever the defendants’ trials, or provide any other
       relief that justice requires.

Fed. R. Crim. P. 14(a). Whether to grant a severance lies in the sound discretion of the Court, and

abuse occurs only where there is a “strong showing of prejudice,” that is, “that joinder would

compromise a specific trial right or prevent the jury from making a reliable judgment about guilt or

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innocence.” Tran, 433 F.3d at 478.

       Defendants’ proposals for severance have some facial appeal, but are largely unworkable.

For example, Braden’s request to sever Count One through Seven makes some sense because he

is only named in those Counts and he is alleged to have only been involved with Haji-Mohamed.

However, included in those Counts are not only firearm violations, but also a Hobbs Act robbery,

which are the very sorts of crimes alleged against Haji-Mohamed and Brandon in Counts Eight

through Twelve. Likewise, Brandon’s request to sever in Counts Eight through Seventeen makes

some sense, but ignores the fact that those Counts, much like the allegations in Counts One through

Seven, contain firearm and Hobbs Act robbery charges. Johnson’s request to sever Counts Twenty-

Three through Twenty-Six, which includes a drug dealing charge and the possession of a firearm

in relation thereto, is plausible, but ignores the fact that drug and firearms crimes are also alleged

in Counts Twenty and Twenty-One.

       Collectively, Defendants are asking the Court to hold at least five separate trials – each trial

limited to the specific charge against a particular Defendant for the obvious reason that their chances

of favorable verdicts are likely higher if they are tried separately. “But it is ‘well settled that

defendants are not entitled to severance merely because they may have a better chance of acquittal

in separate trials.’” United States v. Fields, 763 F.3d 443, 457 (6th Cir. 2014) (quoting Zafiro v.

United States, 506 U.S. 534, 539 (1993)). Moreover, slicing the case into as many pieces as

Defendants want would be an enormous waste of resources and run afoul of the very reasons that

joint trials are preferred. See United States v. Caver, 470 F.3d 220, 238 (6th Cir. 2006) (stating that

“[s]eparate trials produce additional labor for judges and juries, which results from the unnecessary

repetition of evidence and trial procedures.” ).


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       Having considered all of the arguments by the parties and the Second Superseding

Indictment, the Court will exercise its discretion by severing the Counts which name Bradford and

Johnson individually. That is, the Court will sever Counts Sixteen, and Eighteen through Twenty-

Six and try those counts together in one trial. In a separate trial, the Court will try the remainder of

the Counts, that is, Counts One through Fifteen and Count Twenty-Seven, which includes the

charges that link Bradford and Johnson to other Defendants. The Court chooses this course to lessen

the chance for confusion that will result in a trial of five Defendants facing a variety of charges in

Twenty-Seven Counts, particularly since Bradford and Johnson are the only ones alleged to have

committed drug distribution charges. Further, several of the charges against those two Defendants

relate to firearms possession in relation to those drug crimes. Additionally, at least with the

Scheduled I controlled substance analogue charge contained in Count Twenty-Four, the parties have

indicated that expert testimony will be needed, which adds an additional level of complexity.

       In choosing this course, the Court recognizes that a joint trial in both cases could result in

some spillover, but “[a] spillover of evidence between counts does not require severance unless there

is ‘substantial,’ ‘undue,’ or ‘compelling’ prejudice.” Thomas v. United States, 849 F.3d 669, 676

(6th Cir. 2017) (quoting Fields, 763 F.3d at 457). Moreover, “[e]ven where the risk of prejudice is

high, less drastic measures, such as limiting instructions, often will suffice to cure any risk of

prejudice.’” United States v. Driver, 535 F.3d 424, 427 (6th Cir. 2008) (citation omitted).

       Given the nature of the charges and the way that the Counts are going to be severed, the

Court believes that the jury in each case will be able to “mak[e] a reliable judgment about guilt or

innocence.” Zafiro, 506 U.S. at 539. The Court further believes that both juries will be able to

“‘properly compartmentalize the evidence as it relates to the appropriate defendants,’” Driver, 535


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F.3d at 427 (citation omitted), and render a just verdict as to each.

                                          IV. Conclusion

       For the foregoing reasons, the counts in the Second Superseding Indictment will be severed

into two separate trials. In one trial, the Court will try Counts Sixteen, and Eighteen through

Twenty-Six, which contain only charges against Bradford and Johnson. In a separate trial, the Court

will try Counts One through Fifteen and Count Twenty-Seven, which includes the charges against

the remaining Defendants, and charges that name Bradford and Johnson with other Defendants.

With these rulings, all of the pending Motions to Sever will be denied as moot.

       An appropriate Order will enter.



                                               __________________________________________
                                               WAVERLY D. CRENSHAW, JR.
                                               CHIEF UNITED STATES DISTRICT JUDGE




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